
In re S. J. Patton applying for writs of certiorari, prohibition, mandamus and a stay order. Parish of DeSoto. Nos. 37701, 37702 and 37703.
Writ granted.
*466The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ of Certiorari issue herein, directing the Honorable Charles Brown, Judge of the Eleventh Judicial District, Court for the Parish of DeSo-to, to transmit to the Supreme Court of Louisiana, on or before the 13th day of April, 1979, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this Court, on a date to be determined by this Court, why the relief prayed for in the petition of the relator should not be granted.
